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                         Exhibit 8
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                                    OMB Implements Apportionment        13-11
                                                                 Transparency Program,Filed  04/22/25 Reform
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    OMB Implements Apportionment Transparency Program, a Key
    Pro-Democracy Reform
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                The Office of Management and Budget (OMB) has released a new public website that for the first time makes available to the
                Congress and the public all documents apportioning an appropriation. Apportionments are legally binding documents that spell
                out how much funding an agency can spend and the conditions an agency must meet to spend it. They are one of the ways that
                presidents, through OMB, exercise day-to-day control over federal agencies.
                The new website is available at https://apportionment-public.max.gov.
                Congress passed the requirement for OMB to implement this apportionment transparency website on a bipartisan basis as part of
                H.R.2471, the Fiscal Year 2022 omnibus spending bill. This new apportionment transparency system will help ensure Congress has
                the information it needs to oversee the executive branch. A similar provision previously passed the House of Representatives as
                part of the Protecting Our Democracy Act.
                In support of this important step forward by OMB, Cerin Lindgrensavage, counsel at Protect Democracy, released the following
                statement:
                “Apportionment transparency is a long overdue reform crucial to ensuring the president is implementing the appropriations laws
                that Congress has passed. By showing everyone these apportionment documents, this website will support better congressional
                and public oversight of how the executive branch manages federal spending.”
                Protect Democracy joined the Power of the Purse coalition in advocating for the inclusion of this transparency requirement in
                Fiscal Year 2022 appropriations legislation and has urged Congress to make the requirement permanent in Fiscal Year 2023
                appropriations legislation.
                For more resources on these and other institutional reforms to improve government accountability and transparency, click here.


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    We can stop it.
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